                     Case 3:22-cr-00198-GTS Document 1 Filed 10/14/21 Page 1 of 6

AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED S TATES D ISTRICT COURT
                                                         for the
                                              Northern District of New York
UNITED STATES OF AMERICA                             )
               v.                                    )
                                                     )       Case o. 3:21-MJ      - 492 (ML)
                                                     )
                                                     )
                                                     )
REMANU PHILLIPS,                                     )
           Defendant(s)                              )

                                               CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of June 2019 in the county of Tompkins in the Northern District of New York the

defendant violated:

              Code Section                                              Offense Description
18 U.S .C. § 2251 (a)                           Sexual Exploitation of a Minor



This criminal complaint is based on these facts:
See attached affidavit
 181     Continued on the attached sheet.


                                                                        Complainant 's signature
                                                                     Martin Baranski, Special Agent
                                                                         Printed name and title

Attested to by the affiant in accordance with Rule 4.1 of the Federal Rules of Criminal Procedure.

Date:     October 14, 2021
                                                                            Judge 's signature

City and State:           Binghamton, NY                      Hon. Miroslav Lovric, U.S. Magistrate Judge
                                                                         Printed name and title
            Case 3:22-cr-00198-GTS Document 1 Filed 10/14/21 Page 2 of 6




                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK


                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, MARTIN BARANSKI, being duly sworn, depose and state as follows:

                                       INTRODUCTION

       1.      I am a Special Agent employed by the United States Department of Justice, Federal

Bureau of Investigation (FBI), and as such I am an “investigative or law enforcement officer” of

the United States who is empowered by law to conduct investigations and to make arrests for

offenses enumerated in Title 18, United States Code, Chapter 63. I have been a Special Agent

with the FBI since October of 2018. I am currently assigned to the FBI’s Albany Division where

I investigate all federal criminal violations. I have participated in investigations of persons

suspected of violating federal child pornography laws, including Title 18, United States Code,

Sections 2252 and 2252A. I have received training in the area of child sexual exploitation and

have had the opportunity to observe and review examples of child pornography in all forms of

media including computer media. This affidavit is offered in support of a criminal complaint

charging REMANU PHILLIPS with sexually exploiting a child in violation of Title 18, United

States Code, Section 2251(a).

       2.      The statements in this affidavit are based upon my investigation, information

provided to me by other law enforcement officers and on my experience and training as a special

agent of the FBI. Because this affidavit is being submitted for the limited purpose of securing a

criminal complaint, I have not included all facts known to me concerning this investigation. I have



                                                1
            Case 3:22-cr-00198-GTS Document 1 Filed 10/14/21 Page 3 of 6




instead set forth only the facts that I believe are necessary to establish probable cause to believe

that Phillips has violated 18 U.S.C. § 2251(a) (sexual exploitation of a child).

                                      PROBABLE CAUSE

       3.      On October 16, 2019, Investigator John Federation of the Tompkins County

Sheriff's Office was referred a case from the Department of Social Services. The case was reported

by the mother of an approximately 10-year old female victim. The victim’s mother reported that

she caught her boyfriend, REMANU PHILLIPS, exiting her daughter’s bedroom with an erection.

The victim’s mother confronted PHILLIPS about leaving her daughter’s room with an erection

and he admitted that he entered the victim’s bedroom and masturbated while she slept.

       4.      Inv. Federation set up a controlled phone call between the victim’s mother and

PHILLIPS. On the controlled phone call, PHILLIPS told the victim’s mother that he masturbated

in the victim’s room while the victim was awake, that he touched the victim’s bottom, and also

rubbed the victim’s nipples. Per the victim’s mother, earlier in the day after having been confronted

by the victim’s mother PHILLIPS told her that he had to go to work and delete some files, without

explaining what files and why.

       5.      Inv. Federation interviewed the victim and obtained a supporting deposition. In the

supporting deposition, the victim explained that PHILLIPS began staying in her room to rub her

back in order to help her fall asleep. The victim reported that over time, PHILLIPS began rubbing

her bottom and her nipples. The victim reported that this happened approximately 25 times.

Furthermore, the victim reported that PHILLIPS also rubbed his penis while the two sat on the

couch. According to the victim PHILLIPS did this approximately 10 times.

       6.      On October 17, 2019, Inv. Federation interviewed PHILLIPS. Inv. Federation read

PHILLIPS his Miranda warnings, to which PHILLIPS waived his rights and agreed to speak with

                                                 2
            Case 3:22-cr-00198-GTS Document 1 Filed 10/14/21 Page 4 of 6




Inv. Federation. During the course of the interview PHILLIPS admitted that he rubbed the victim’s

back, bottom, and nipples on several occasions. PHILLIPS also admitted to masturbating next to

the victim in her bedroom, including rubbing his penis on the victim’s bare bottom. Finally,

PHILLIPS admitted to digitally penetrating the victim’s vagina with his fingers.

       7.      On October 17, 2019, PHILLIPS was arrested by the Tompkins County Sheriff's

Office for First-Degree Sexual Abuse:Sexual Contact with an Individual Less than 11 years old in

violation of New York Penal Law Section 130.65 subsection 03. On February 14, 2020, he pled

guilty to that charge and was sentenced to 6-months incarceration and 10-years’ probation.

       8.      At the time of his arrest PHILLIPS was employed by New Roots Charter School in

Ithaca, NY as an IT staff member. In November 2019, the Principal at New Roots Charter school,

upon learning of PHILLIPS's arrest, approached Inv. Federation and turned over an Apple All-In-

One computer and Dell laptop computer. The two items belonged to the school and were used by

PHILLIPS during his time as an IT staff member at the school. Inv. Federation turned the two

items over to the New York State Police (NYSP) Troop C Computer Crimes Unit (CCU) for

forensic analysis.

       9.      In February 2021, NYSP CCU Inv. Christopher Kane completed analysis of the

Apple All-In-One computer and Dell laptop computer and reported that three videos were

discovered on the Apple All-In-One computer that show what appeared to be PHILLIPS sexually

abusing the victim in the manner he previously admitted to doing.

       10.     The videos were all discovered under the profile, Users\rsteele\.Trash\, with

creation dates in June 2019. Further investigation has revealed that PHILLIPS sometimes used

the pseudonym REMANU STEELE, as an Ithaca-area musician.            At the time of the interview

with Inv. Federation in October 2019, PHILLIPS reported that he began sexually abusing the

                                                3
          Case 3:22-cr-00198-GTS Document 1 Filed 10/14/21 Page 5 of 6




victim several months prior, which is consistent with the videos’ creation dates. Finally, the files

were located in the Trash of the Apple All-In-One computer, consistent with statements made by

PHILLIPS to the victim’s mother, in which he mentioned that he needed to delete some files at

work.

        11.      The videos are described as follows:

              a. Titled: VID_20190614_210332 is approximately three minutes in length, displays

                 an adult male rubbing the naked bottom of a minor female, and the adult male later

                 appears to digitally penetrate the minor female’s vagina.

              b. Titled: VID_20190614_211103 is approximately two minutes in length, displays

                 an adult male rubbing the naked bottom of a minor female. Midway through the

                 video, the adult male begins rubbing his penis between the naked bottom cheeks of

                 the minor female.

              c. Titled: VID_20190628_070413 is approximately two minutes in length, displays

                 an adult male rubbing the naked bottom of a minor female, and the adult male later

                 appears to digitally penetrate the minor female’s vagina.

              The video file names above indicate the date in which they were filmed, 20190614 and

20190628, or June 14, 2019 and June 28, 2019.

        12.      In furtherance of this investigation, your affiant and Task Force Officer Andrew

Wilmot met with Inv. Federation and the victim’s mother at the Tompkins Co. Sheriff’s Office.

The victim’s mother confirmed that sanitized screen shots taken from the 3 videos described above

are of the victim. Furthermore, the mother confirmed that the videos were recorded in the victim’s




                                                  4
          Case 3:22-cr-00198-GTS Document 1 Filed 10/14/21 Page 6 of 6




bedroom, based on key identifiers such as bedding and stuffed animals. The victim's mother also

identified Phillips' hand in the videos.

                                           CONCLUSION

        13.    Based upon the above, your affiant respectfully submits that there is probable cause

to believe that Remanu Phillips employed, used, persuaded, induced, enticed, and coerced a minor,

a IO year old female chi Id, to engage in sexually explicit conduct for the purpose of producing

visual depictions of such conduct, where such visual depictions were produced using materials

which have been mailed, shipped, or transported in interstate or foreign commerce by any means,

including by computer, in violation of Title 18, United States Code, Section 2251(a).


     ATTESTED TO BY THE APPLICANT IN ACCORDANCE WITH THE
REQUIREMENTS OF RULE 4.1 OF THE FEDERAL RULES OF CRIMINAL PROCEDURE.



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                                                            ~in Baranski
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                                                            Special Agent
                                                            Federal Bureau of Investigation


I, the Honorable Miroslav Lovric, United States Magistrate Judge, hereby acknowledge that this
affidavit was attested by the affiant by telephone on October 14, 2021, in accordance with Rule
4.1 of the Federal Rules of Criminal Procedure.



Hon. Miroslav Lovric
United States Magistrate Judge




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